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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION

In re:                                                      Case No. 15-10276
         Sandra Morgan

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Huon Le, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 02/18/2015.

         2) The plan was confirmed on 04/14/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 07/20/2017.

         5) The case was converted on 10/02/2018.

         6) Number of months from filing to last payment: 43.

         7) Number of months case was pending: 44.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $1,250.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor            $19,397.93
           Less amount refunded to debtor                           $0.00

 NET RECEIPTS:                                                                                   $19,397.93


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                 $3,000.00
     Court Costs                                                             $310.00
     Trustee Expenses & Compensation                                       $1,677.86
     Other                                                                     $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $4,987.86

 Attorney fees paid and disclosed by debtor:                     $0.00


 Scheduled Creditors:
 Creditor                                       Claim         Claim            Claim       Principal       Int.
 Name                                 Class   Scheduled      Asserted         Allowed        Paid         Paid
 #Collection Serv of Athens       Unsecured          72.00           NA              NA            0.00        0.00
 #LCA Services Inc                Unsecured          92.00           NA              NA            0.00        0.00
 #One Main Financial              Secured       10,930.00            NA              NA            0.00        0.00
 #Pinnacle Credit Services        Unsecured         545.00           NA              NA            0.00        0.00
 #Scana Energy Marketing          Unsecured         221.00           NA              NA            0.00        0.00
 #Stellar Recovery                Unsecured         143.00           NA              NA            0.00        0.00
 #University Health Care System   Unsecured          31.00           NA              NA            0.00        0.00
 City of Washington               Unsecured         580.00      1,087.84        1,087.84           0.00        0.00
 Midnight Velvet                  Unsecured         290.00        290.13          290.13           0.00        0.00
 Prestige Financial Services      Secured       20,493.00     21,137.65        21,137.65     12,176.75    2,233.32
 Wilkes Loans                     Unsecured         266.46        355.46          355.46           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal            Interest
                                                            Allowed               Paid                Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                           $21,137.65         $12,176.75          $2,233.32
       All Other Secured                                      $0.00              $0.00              $0.00
 TOTAL SECURED:                                          $21,137.65         $12,176.75          $2,233.32

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00             $0.00
        Domestic Support Ongoing                               $0.00               $0.00             $0.00
        All Other Priority                                     $0.00               $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                               $1,733.43               $0.00             $0.00


 Disbursements:

         Expenses of Administration                             $4,987.86
         Disbursements to Creditors                            $14,410.07

 TOTAL DISBURSEMENTS :                                                                      $19,397.93


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 10/18/2018                             By:/s/ Huon Le
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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